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United States Distrlct Court

 

Ao 91 (Rev. 11/11) criminal com§iaim ' ' S°\lfhel'n Dil;t:§g:t Of Texas
UNITED STATES DIS`TRICT COURT APR 1 2 2019
for the _
Southern District of Texas n David J' Brad__|?y’£..l€.r.l§ _

United States of America f
v.

1C.@ls»eNo. ‘l/\- lq‘*@@ IQ" l/\

Juan ll/lalagon-ZAPATA
Y. 0 B: 1993 Citizenship: l\/lexico

“Lwa

\/V\/\/\/\Z\/

 

, Defe‘ndant(s)

CRIMINAL COMPLAINT

/ .
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On 0r about the date($) Of Apl'll 11, 2019 in the COlll'lty Of - Hlda|go l ln"the

 

Southern District of Texas , the defendant(s) Violated:

Coa'e Section 4 Ojj’ense Dascrl'ption

21 USC § 952 , Knowing|y and intentionally import into the United States from the United
21 USC § 841 l\/lexican States approximately 9.84 kilograms of cocaine, a Schedule ll
' controlled substance, and did knowingly and intentionally possess With the
intent to distribute approximately 9.84 kilograms of cocaine, a Schedu|e ll
controlled substance.

This criminal complaint is based on these facts: _

See "Attachment A"

il Continued on the attached sheet.

A ,/l v/ los f¢~w~ V' amaya/wm l\°“¢l . //A{ //;_7£
v’ ’”‘” , , ,

gail U\ %Ji\-- at //L/ la v~ Complainant'ssig?mf g?rnfure

/John Reinosa, HSl Special Agent

 

Printea' name and title

Sworn to before rne and signed-in rny presence.

Date; 04/12/2019

 

Judge s signature
City and State; lVchllen, T_exas .Sco/t acker, U. S. l\/lagistrate Judge

Prz'nted name and title

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Attachment “A”

On April 11, 2019, a vehicle driven by Juan l\/lALGON-Zapata, a
l\/lexican national 32 visa holder, attempted entry at the Hidalgo
Port of Entry in Hidalgo, Texas in a 2002 Ford Sports Trac truck.
l\/lALGON-Zapata arrived at primary inspection where Customs
and Border Protection Officer (CBPO) A. Lopez asked l\/lALGON-
Zapata where he was going. l\/lALGON-Zapata told Lopez he was
going shopping to buy clothes as a graduation gift and that he
was going to stay in l\/chllen in three days. l\/lALGON-Zapata told
Lopez he owned the vehicle for approximately 3 years. l\/IALGON-
Zapata was escorted to post primary inspection. During post
primary inspection by CBPO l\/l. Godoy, l\/lALGON-Zapata claimed
ownership of the vehicle and told Godoy that he was going to`~
l\/chl|en to go shopping in l\/chllen.

CBPO G. Hernandez and Narcotics Detection Dog (NDD) “Zaga”
conducted an inspection of the vehic|e. NDD “Zaga” alerted to
truck. CBPOs ran the vehicle through the Z-porta| X-ray machine
and was found to have anomalies in the rear section of the cab of
the truck as inspected by CBPO B. Gomez. Further physical
inspection revealed a total of 16 packages concealed in the
vehic|e. The 16 packages weighed approximately 9.84 kilograms
and field tested positive for properties of cocaine.

Homeland Security |nvestigations (HSI) Specia| Agents (SAs) and
Customs and Border Protection Task Force Officers (CBP TFO)
were advised of the situation. HS| SA’s and a CBP TFO
responded to the Hidalgo Port of Entry to interview l\/lALGON-
Zapata.

During the custodial interview, l\/lALGON-Zapata told HS| SAs
and CBO TFO that he was aware he had narcotics in his vehicle.
|VlALGON-Zapata told investigators that this was approximately
his 5th trip transporting narcotics from l\/lexico into the United

